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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

JOSEPH SCOTT REEVES,                          )
                                              )
               Plaintiff                      )
                                              )
v.                                            )       1:16-cv-00193-NT
                                              )
UNITED STATES OF AMERICA, et al.,             )
                                              )
               Defendants                     )

            RECOMMENDED DECISION AFTER SCREENING COMPLAINT
                   PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

        In this action, Plaintiff Scott Reeves, an inmate in the custody of the Bureau of Prisons,

alleges that his civil rights were violated by federal ATF and FBI agents, officers of the Maine

Violent Crime Taskforce, officers of the Penobscot County Sheriff’s Department, and prosecutors

employed by the Department of Justice, in connection with his arrest, detention, and prosecution

on federal charges.

        Plaintiff has filed an application to proceed in forma pauperis (ECF No. 2), which

application the Court granted (ECF No. 3). In accordance with the in forma pauperis statute, a

preliminary review of Plaintiff’s complaint is appropriate. 28 U.S.C. § 1915(e)(2). Additionally,

Plaintiff’s complaint is subject to screening “before docketing, if feasible or … as soon as

practicable after docketing,” because he is “a prisoner seek[ing] redress from a governmental entity

or officer or employee of a governmental entity.” 29 U.S.C. § 1915A(a).

        Following a review of the pleadings, I recommend the Court dismiss Plaintiff’s complaint

without service of process on Defendants.




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                                       STANDARD OF REVIEW

        When a party is proceeding in forma pauperis, “the court shall dismiss the case at any time

if the court determines,” inter alia, that the action is “frivolous or malicious” or “fails to state a

claim on which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B). “Dismissals [under § 1915]

are often made sua sponte prior to the issuance of process, so as to spare prospective defendants

the inconvenience and expense of answering such complaints.” Neitzke v. Williams, 490 U.S. 319,

324 (1989).

        In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated and

seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c). The

§ 1915A screening requires courts to “identify cognizable claims or dismiss the complaint, or any

portion of the complaint, if the complaint (1) is frivolous, malicious, or fails to state a claim …; or

(2) seeks monetary relief from a defendant who is immune from such relief.” 28 U.S.C. §

1915A(b).

        When considering whether a complaint states a claim for which relief may be granted,

courts must assume the truth of all well-pled facts and give the plaintiff the benefit of all reasonable

inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011). A

complaint fails to state a claim upon which relief can be granted if it does not plead “enough facts

to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007). “The relevant question ... in assessing plausibility is not whether the complaint

makes any particular factual allegations but, rather, whether ‘the complaint warrant[s] dismissal

because it failed in toto to render plaintiffs’ entitlement to relief plausible.’” Rodríguez–Reyes v.

Molina–Rodríguez, 711 F.3d 49, 55 (1st Cir. 2013) (quoting Twombly, 550 U.S. at 569 n. 14).



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Although a pro se plaintiff’s complaint is subject to “less stringent standards than formal pleadings

drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), the complaint may not consist

entirely of “conclusory allegations that merely parrot the relevant legal standard,” Young v. Wells

Fargo, N.A., 717 F.3d 224, 231 (1st Cir. 2013). See also Ferranti v. Moran, 618 F.2d 888, 890

(1st Cir. 1980) (explaining that the liberal standard applied to the pleadings of pro se plaintiffs “is

not to say that pro se plaintiffs are not required to plead basic facts sufficient to state a claim”).

                                      FACTUAL BACKGROUND

        The facts set forth herein are derived from the factual allegations in Plaintiff’s complaint,

and from the factual information supplied in the affidavit and documents attached to Plaintiff’s

complaint, which facts are deemed true when evaluating whether Plaintiff has stated an actionable

claim. Beddall v. State St. Bank & Trust Co., 137 F.3d 12, 16 (1st Cir. 1998).

        Plaintiff is presently incarcerated at USP Big Sandy in Inez, Kentucky. Plaintiff alleges

that Defendants falsely arrested him on October 3, 2002, on a grand jury indictment, falsely

prosecuted him, and falsely imprisoned him for approximately three years and ten months while

charges were pending in this Court in case number 1:02-cr-00093-JAW-1, before ultimately

dismissing all charges against him in 2006, following his execution of a written plea agreement in

another matter. (Complaint, ECF No. 1; Affidavit, ECF No. 1–1.) As part of his claim, Plaintiff

also seeks to recover for the alleged abuse he suffered at the Penobscot County Jail and the Maine

State Prison while he was held in Maine as a pretrial detainee. Plaintiff further complains of

ongoing health issues that he currently experiences, including “back problems that … go

unhandled by the B.O.P.” and “unbearable pain mentally and emotionally.” (Affidavit ¶ 7.)

Plaintiff contends Defendants’ conduct has violated his rights under the Fourth, Fifth, Eighth, and

Fourteenth Amendments.



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        Plaintiff attached to his complaint the United States’ Prosecution Version provided to the

Court in connection with Plaintiff’s change of plea hearing on June 15, 2005. The Prosecution

Version bears the caption of case number 1:05-cr-00047-JAW-1. Although filed in a different

case, because both the 2002 indictment and the 2005 information to which Plaintiff pled guilty

were based on the same criminal activity in September 2002, the Prosecution Version clearly

contains probable cause to support Plaintiff’s commission of the crimes for which he was indicted

in case number 02-93.

        Plaintiff also attached to the complaint a copy of his agreement to plead guilty, through

which Plaintiff agreed to plead guilty to three charges in the information filed in case number 05-

47, i.e., charges of Being a Felon in Possession of a Firearm, Robbery Interfering with Interstate

Commerce, and Use of a Firearm During Commission of a Federal Crime of Violence.

(Agreement to Plead Guilty, ECF No. 1–2.) The charges to which he pled guilty involved

Plaintiff’s criminal activity in September 2002, for which conduct he was initially indicted,

arrested, detained, and prosecuted in case number 02-93.

                                           DISCUSSION

A.      False arrest, false imprisonment, and malicious prosecution claims

        A review of Plaintiff’s complaint, the documents attached to the complaint, and the Court’s

docket in both cases (docket nos. 02-93 and 05-47) reveals that Plaintiff actually pled guilty to

charges based on the conduct for which he contends he was falsely arrested and charged.

Plaintiff’s claims of false arrest, false imprisonment and malicious prosecution are thus directly

contradicted by the information set forth in the Prosecution Version and Plaintiff’s plea of guilty

to the charges in docket number 05-47. In other words, Plaintiff’s allegations lack any factual

support in the record.



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           Plaintiff’s claims not only lack factual support, but his guilty plea alone in case number

05-47 precludes any claim for false arrest, false imprisonment, and malicious prosecution.

Because a Bivens action1 against the federal officer defendants or a § 1983 action against the state

officer defendants for false arrest, false imprisonment, and malicious prosecution effectively

challenges the legitimacy of Plaintiff’s underlying conviction, a direct appeal and a writ of habeas

corpus were the only available means by which Plaintiff could challenge his now longstanding

federal conviction.         Muhammad v. Close, 540 U.S. 749, 124 S. Ct. 1303, 1304 (2004)

(summarizing the holding of Heck v. Humphrey, 512 U.S. 477 (1994)); Kenney v. Massachusetts,

111 Fed. App’x 20, 21 (1st Cir. 2004) (unpublished, per curiam).

B.         Conditions of confinement in Maine during period of pretrial detention

           Plaintiff evidently attempts to assert a claim based on the conditions under which he was

incarcerated in Maine. Plaintiff fails, however, to assert sufficient facts about the conditions to

support a claim, specifically, he fails to allege facts suggesting that he was exposed to “punishment

without due process.” O’Connor v. Huard, 117 F.3d 12, 16 (1st Cir. 1997). Essentially, Plaintiff

reiterates his false imprisonment claim – that he should not have been subjected to any conditions

of confinement.

           Even if Plaintiff’s complaint is construed to assert a factual basis for a claim, Plaintiff’s

claim is barred by the statute of limitations. All of Plaintiff’s claims are subject to the six-year

statute of limitation. Barrett ex rel. Estate of Barrett v. United States, 462 F.3d 28, 38 (1st Cir.

2006) (applying state statute of limitations to Bivens action); Lopez-Gonzalez v. Mun. of Comerio,

404 F.3d 548, 551 (1st Cir. 2005) (“A section 1983 action borrows the forum state’s statute of

limitations for personal injury claims.”). The applicable Maine statute of limitations is “within six



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    Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S. 338 (1971).

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years after the cause of action accrues.” 14 M.R.S. § 752 (2013). Plaintiff was incarcerated at the

Penobscot County Jail or the Maine State Prison between 2002 and 2005, more than a decade ago.

        The date on which a federal claim accrues is determined by federal law. Ruiz-Sulsona v.

Univ. of Puerto Rico, 334 F.3d 157, 159 (1st Cir. 2003). Under federal law, a claim accrues “when

the plaintiff knows, or has reason to know, of the injury on which the action is based.” Rivera-

Muriente v. Agosto-Alicea, 959 F.2d 349, 353 (1st Cir. 1992). Based on Plaintiff’s allegations,

Plaintiff’s claims accrued at the latest in 2005. Plaintiff asserted his claims in 2016, more than 10

years after Plaintiff’s claims could possibly have accrued. Where, as here, the statute of limitation

defense plainly appears on the face of Plaintiff’s complaint, dismissal for failure to state a claim is

appropriate. Jones v. Bock, 549 U.S. 199, 214 – 15 (2007).

C.      Denial of medical attention at Big Sandy

        Plaintiff apparently seeks to assert a claim based on the medical care he receives at Big

Sandy, the facility in which he is currently incarcerated in Kentucky. (Complaint at 4.) To the

extent Plaintiff has a factual basis for such a claim, Plaintiff must prosecute the claim in the United

States District Court for the District of Kentucky, which court has personal jurisdiction over

Plaintiff’s custodian and medical care providers, and which district has venue pursuant to 28

U.S.C. § 1391(b). Because this district lacks personal jurisdiction over the necessary defendants

and because this district is an improper venue for the claim, the issue is whether, “in the interest

of justice,” 28 U.S.C. §§ 1406(a), 1631, the Court should transfer Plaintiff’s action to Kentucky or

dismiss it without prejudice to Plaintiff’s right to re-file his complaint in the appropriate district.

Because Plaintiff’s claims against Big Sandy would involve different facts than those relevant to

his claims against the Maine defendants, and because Plaintiff has not joined the proper defendants




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for a claim based on any of the conditions at Big Sandy, the interests of justice do not support

transfer of this action to Kentucky.

                                          CONCLUSION

       Based on the foregoing analysis, pursuant to 28 U.S.C. § 1915(e)(2) and 29 U.S.C. §

1915A(a), I recommend the Court dismiss Plaintiff’s Complaint without service on Defendants.


                                             NOTICE

               A party may file objections to those specified portions of a magistrate
       judge's report or proposed findings or recommended decisions entered pursuant to
       28 U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum, within fourteen (14) days of being served
       with a copy thereof.

              Failure to file a timely objection shall constitute a waiver of the right to de
       novo review by the district court and to appeal the district court's order.

                                              /s/ John C. Nivison
                                              U.S. Magistrate Judge

       Dated this 3rd day of May, 2016.




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